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Alex Braitberg

From:                  Alex Braitberg
Sent:                  Monday, December 28, 2020 3:55 PM
To:                    Nowak, Richard; Netter, Brian; Ross, Nancy; Glickstein, Jed; Siebert, Antonia C.; Webster, Michelle N.
Cc:                    Andrew Schlichter; Joel Rohlf; sbdfile
Subject:               Vellali v. Yale - Confidentiality Withdrawal Request
Attachments:           Yale Confidential Docs Withdrawal Request.xlsx


Counsel—

Further to our meet and confer last week, pursuant to the standing protective order in this case, ECF No. 11, ¶12,
Plaintiffs request that Defendants withdraw their confidentiality designations with respect to each of the documents
produced by Defendants listed in the attachment, as well as the below‐listed documents.

Transcripts of depositions:
     Sylvia Bedard: 231:8–233:1;
     Benjamin Polak: 67:23–68:3;
     Michael Peel: entire deposition transcript, except for 7:19–20 and 34:14–15;
     John Chalmers: entire deposition transcript; and
     Glenn Poehler: both transcripts.

Expert reports:
    Conrad Ciccotello;
    Glenn Poehler; and
    John Chalmers.

This request is without prejudice to future requests to withdraw confidentiality.

Thanks.

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                                                                                                                       Exhibit 4
